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Attorney for Jeremiah Foster
Liquidating Trustee

                          UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MONTANA
 In re
                                                  Case No. 15-60979-11
 SHOOT THE MOON, LLC,

                Debtor.

         __________________________________________________________________

                                  STATUS REPORT
         __________________________________________________________________

         Chapter 11 Liquidating Trustee, Jeremiah Foster (“Trustee”), by and through his counsel

of record, pursuant to the Court’s August 16, 2022 Order Scheduling Status Conference, and

hereby provides a written status report relating to: (1) the chapter 11 case; (2) Adversary

Proceeding No. 2:17-ap-00028-WLH involving CapCall, LLC; (3) Adversary Proceeding No.

2:17-ap-00043-WLH involving Ted Hatzenbeller; and (4) Adversary Proceeding No. 2:17-ap-

00045-WLH, involving World Global Financing, Inc. For purposes of organization, Trustee will

address each of these matters, in turn.

         1. In re Shoot the Moon, LLC, Case No. 15-60979-11.

         The STM Liquidating Trust currently holds $402,900.86 in cash. Class I and Class II

creditors have been paid leaving the Class III Creditors (priority tax claims) and Class IV and V

(general unsecured creditors) yet to be paid. The Class III claims are in the collective amount of




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$301,515.91. The Class IV claims are in the amount of $5,505,008.05, while the Class V claims

are in the amount of $14,819,643.56.

        There are several outstanding matters that need to be completed in this Chapter 11 case in

for it to be fully administered and can be closed. One of those matters is for Trustee to exhaust all

collection efforts to recover on the judgment against CapCall, LLC, as discussed in greater detail

below. Trustee has retained counsel to aggressively pursue collection on this judgment.

Unfortunately, those efforts have been frustratingly slow for a variety of reasons. Trustee’s ability

to collect on this judgment will determine, in large part, whether the general unsecured creditors

will obtain any meaningful recovery in this Chapter 11 case. While it is unknown how long those

efforts will take, Trustee believes it is worth keeping the Chapter 11 case open to allow him to

exhaust all reasonable efforts.

        One of the other outstanding matters in this Chapter 11 case are the issues raised in

Trustee’s Third Omnibus Objections. On March 22, 2021, Trustee Filed his Third Omnibus

Objection of Class 3, 4, 5, and 6 Claims. (Dkt. 1419) Those objections related to (A) claims that

were satisfied/released in whole or in part; (B) Claims that are non-compliant; (C) claims that

provide insufficient data to determine the validity of the claims; (D) claims that are subject to

ongoing adversarial proceedings and for which the debtor is not liable. CapCall, LLC was the

only creditor to file an objection 1. No other objections to the Third Omnibus Objection were

received. Once the objections based on ongoing adversary proceedings are fully resolved 2, it will




1
 CapCall, LLC’s objection was addressed by stipulation between CapCall, LLC and Trustee. On April 19, 2021, the
Court entered its Order Approving Stipulation Re Trustee’s Third Omnibus Objection that the treatment of CapCall,
LLC’s Proof of Claim would only be considered after the final determination of issues in the then-pending adversary
action.

2
 Trustee anticipates resolving the adversary proceeding with Ted Hatzenbeller and his proof of claim in the coming
weeks, as discussed below in greater detail.


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be necessary for Trustee to amend his Third Omnibus Objections. A ruling from the Court on

those Third Omnibus Objections will assist Trustee in finalizing the claim pool.

       Finally, another remaining issue that needs to be resolved prior to the Chapter 11 case being

closed is a determination of how the unclaimed creditor payments to Class II creditors should be

handled. The Class II creditors were the employees of the various restaurant operations. While

claims for hundreds of Class II creditors were successfully paid, there are fifty-nine (59) Class II

creditors that have not claimed their checks because Trustee does not have a current address for

these individuals. The checks for each of these individuals was returned as undeliverable. Trustee

has investigated whether he can turn these funds over to Montana, Idaho, and Washington as

“unclaimed property.” Unfortunately, this does not seem to be a feasible option as Trustee would

have to make a claim for each of these fifty-nine (59) individuals and no longer has identifying

information, like social security numbers, for many of them. Trustee needs the Court’s guidance

as to whether the $37,385.54 can be distributed to Class III, IV, and V creditors.

       Once the above-referenced matters are finally resolved, Trustee believes that the Chapter

11 case can be fully administered, and the case can be closed.

       2. CapCall, LLC v. Foster, Adversary No. 2:17-ap-00028-WLH.

       On September 30, 2021, a Final Judgment was entered against CapCall, LLC and in favor

of Trustee in a total amount of $2,770,512.58, not considering an offset if the full amount is paid.

(Dkt. 287). CapCall, LLC has failed to satisfy the Judgment. As such, last fall, Trustee retained

the law firm of Dorsey & Whitney, LLP to assist with collection efforts. The domestication of the

Judgment in New York and Delaware has been frustratingly slow. The plan is to conduct a debtor’s

examination and other discovery to track down CapCall’s assets and commence actions to recover

those assets, if they have been transferred.




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          With regard to Adversary Proceeding No. 2:17-ap-00028-WLH, Trustee does not see any

reason why this matter cannot be closed. Trustee has the Final Judgment. The efforts to collect

on the Final Judgment do not require this Adversary Proceeding to remain open.

          Foster v. Ted Hatzenbeller, Adversary No. 2:17-ap-00043-WLH.

          On March 16, 2020, Trustee filed a Notice of Settlement informing the Court that a

settlement had been reached with Ted Hatzenbeller, Sr. and that a 9019 Motion seeking approval

of the settlement on or before March 19, 2020. (Dkt. 44). On March 19, 2020, Trustee filed a

Notice to the Court that due to the COVID-19 pandemic, the signing of the settlement documents

had been delayed and that the parties would file a 9019 Motion “as soon as reasonably possible.”

Generally, the terms of the settlement were that Mr. Hatzenbeller would execute a confession of

judgment in favor of Trustee in the amount of approximately $34,904.40 and would further waive

his right to claims as an Unsecured Creditor against the Estate. It had been represented that Mr.

Hatzenbeller had minimal assets and, as such, there was no hope in a meaningful recovery to the

Estate.

          Our efforts to finalize the settlement were soon derailed. At that time of negotiation, which

coincided with the outset of the COVID-19 pandemic, it was understood that Mr. Hatzenbeller

was residing in a nursing home facility in Aberdeen, South Dakota. Mr. Hatzenbeller’s nursing

home facility was essentially closed to outsiders from entering the facility and prevented residents

from leaving. Consequently, no one could enter the nursing home facility to sit down with Mr.

Hatzenbeller, explain the settlement documents to him, and have him sign the necessary

documents. To further complicate matters, at this same time, Mr. Hatzenbeller’s health started to

deteriorate. Mr. Hatzenbeller’s counsel, Rusty Murphy, represented that he did not believe Mr.

Hatzenbeller held the requisite capacity to sign the Settlement Agreement or the Confession of




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Judgment. No guardian nor custodian had yet been appointed for Mr. Hatzenbeller. As such,

discussions relating to finalizing the settlement documents came to a halt.

       In recent discussions, Mr. Murphy has represented that Mr. Hatzenbeller has since died. In

a discussion this week, Mr. Murphy indicated that he would reach out to Mr. Hatzenbeller’s

daughter, who he believed would serve as personal representative of his Estate. Once we know

who is in control of Mr. Hatzenbeller’s Estate, we intend to finally resolve this adversary

proceeding either through dismissal or the filing of a 9019 Motion. It is Trustee’s hope and

intention to file a Stipulation to Dismiss or a Rule 9019 Motion in the immediate future.

       3. Foster v. World Global Financing, Inc., Adversary No. 2:17-ap-00045-WLH.

       On May 9, 2018, prior to World Global Financing, Inc. filing an Answer in this Adversary

Proceeding, it filed a Notice of its Chapter 11 Filing in the Southern District of Florida and

asserting an automatic stay under 11 U.S.C. § 362. (Dkt. 27). Trustee has investigated World

Global Financing’s bankruptcy and does believe there is an opportunity to obtain a meaningful

recovery. Accordingly, Trustee plans to file his Notice of Dismissal in this Adversary Proceeding,

pursuant to Rule 7041 of the Federal Rules of Bankruptcy Procedure and Rule 41 of the Federal

Rules of Civil Procedure. The Notice of Dismissal, which does not require World Global

Financing’s stipulation because they had not yet filed an Answer, will end this Adversary

Proceeding and allow the Court to close this matter.

       DATED this 9th day of September 2022.

                                             COTNER RYAN LAW, PLLC


                                             /s/ Kyle C. Ryan
                                             Kyle C. Ryan
                                             Attorneys for Liquidating Trustee, Jeremiah Foster




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                               CERTIFICATE OF SERVICE

       I, the undersigned, do hereby certify under penalty of perjury that on the 9th day of
September, 2022, a copy of the foregoing Notice was served by electronic means pursuant to LBR
9013-(d)(2) on the parties noted in the Court’s ECF transmission facilities and by mail on the
following individuals and/or entities:

       1. Funding Metrics, LLC
          c/o Tim Dailey, Esq.
          Milodragovich, Dale & Steinbrenner, P.C.
          620 High Park Way
          P.O. Box 4947
          Missoula, MT 59806

       2. IOU Central, Inc.
          c/o Mark A. Ellingsen
          WITHERSPOON KELLEY
          The Spokesman-Review Building
          608 Northwest Boulevard, Suite 300
          Coeur d’Alene, ID 83814

       3. IOU Central, Inc.
          c/o Paul G. Wersant
          3245 Peachtree Parkway, Suite D-245
          Suwanee, GA 30024

       4. Charles Parker
          1120 Kakala Street Unit 509
          Kaploei, HI 96707

       5. Prairie Mountain Bank
          c/o Randall C. Lester
          Falcon, Lester & Schaff, P.C.
          25 5th Street North, Suite 202
          Great Falls, MT 59401

       6. Eulailo Cabrales-Cervantes
          907 Ave. C. NW
          Great Falls, MT 59401

       7. Oversight Committee of the Liquidating Trust
             a. Kerry Carlson
                 US Foods, Inc.
                 9399 W Higgins Road, Ste. 100
                 Rosemont, IL 60018




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                 b. Dan Fuller
                    Brinker International
                    3000 Olympus Blvd
                    Dallas, TX 75019
                    Dan.fuller@brinker.com


                                             COTNER RYAN LAW, PLLC

                                             By:    /s/ Kyle C. Ryan
                                                    Kyle C. Ryan
                                                    Attorneys for Liquidating Trustee,
                                                   Jeremiah Foster




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